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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


IN RE:                                             §
                                                   §
SCARLET INFOTECH, INC., d/b/a
                                                   §                 Case No. 21-33094
EXPEDIEN, INC.
                                                   §
                          Debtor.                  §                 Chapter 7

                   DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                      PETITION, LISTS, STATEMENTS, AND SCHEDULES

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on
behalf of, the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be
filed electronically in this case. I have read the information provided in the petition, lists, statements, and
schedules to be filed electronically in this case and I hereby declare under penalty of perjury that the information
provided therein, as well as the social security information disclosed in this document, is true and correct. I
understand that this Declaration is to be filed with the Bankruptcy Court within five (5) business days after the
petition, lists, statements, and schedules have been filed electronically. I understand that a failure to file the signed
original of this Declaration will result in the dismissal of my case.

         [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] –
         I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
         am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
         relief available under each chapter, and choose to proceed under chapter 7.

         [Only include if petitioner is a corporation, partnership or limited liability company] –
         I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
         statements, and schedules on behalf of the debtor in this case.

Date: September 23, 2021          /s/ Jiten Agarwal
                                  Jiten Agarwal, President


PART II: DECLARATION OF ATTORNEY:

         I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by
Part I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an
individual with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11,
United States Code, and have explained the relief available under each such chapter.


Date: September 23, 2021          /s/ Kyung S. Lee
                                  Attorney for Debtor
